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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

In re: Vioxx® MDL Docket No. 1657
Product Liability Litigation
SECTION L
This document relates to:
Joni Barnett, et al. JUDGE FALLON
v.

Merck & Co., Inc. MAGISTRATE JUDGE KNOWLES
Only with regard to:

Douglas Wald, individually and as
administrator of the estate of Lothar
Wald

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Docket No. 2:06-cv-08320

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ORDER OF DISMISSAL WITH PREJUDICE
Considering the foregoing Stipulation of Dismissal With Prejudice,
IT IS ORDERED that the claims of plaintiff Douglas Wald, individually and as
administrator of the estate of Lothar Wald, in the above-captioned case be and they hereby are
dismissed with prejudice with each party to bear his or her own costs.

NEW ORLEANS, LOUISIANA, this day of , 2010.

DISTRICT JUDGE
